                       THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


MICHAEL DAVID SILLS          )
and MARY SILLS,              )
                             )
         Plaintiffs,         )
                             )                       CASE NO. 3:23-cv-00478
v.                           )
                             )                       JUDGE WILLIAM L. CAMPBELL, JR.
                             )                       Magistrate Judge Chip Frensley
SOUTHERN BAPTIST CONVENTION, )
et al.                       )                       JURY TRIAL DEMANDED
                             )
         Defendants.         )


  PLAINTIFFS AND DEFENDANT JENNIFER LYELL’S JOINT AND UNOPPOSED
 MOTION FOR A DISCOVERY CONFERENCE AND FOR MODIFICATION TO THE
                       BRIEFING SCHEDULE

       Pursuant to Section G of the Stipulated Amended Case Management Order (ECF No. 170)

and Local Rule 37.01, Plaintiffs, David and Mary Sills, and Defendant, Jennifer Lyell, respectfully

request a telephonic discovery conference with Magistrate Judge Frensley to address the parties’

concerns regarding the witness identified in Plaintiffs’ Emergency Motion for Protective Order

(ECF No. 200) and responses to various subpoenas issued to medical providers. The parties met

and conferred in person in a good-faith attempt to resolve their discovery dispute on February 11,

2025, and made progress in reaching a resolution. Nevertheless, some particular concerns remain

for which the Parties jointly seek guidance from the Court. Counsel for the remaining defendants

have advised that they do not oppose a discovery conference on this issue.

       Relatedly, Plaintiffs and Defendant Jennifer Lyell hereby jointly move this Court for an

extension of the parties’ briefing deadlines set by this Court’s February 3, 2025, Order (ECF No.

204). Plaintiffs and Defendant Lyell request that the Court extend Defendants’ response deadline



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from February 13, 2025, until seven days after the discovery conference, or, if the request for a

discovery conference is denied, seven days after the entry of the Court’s order ruling on this

motion, and extend the Plaintiffs’ optional reply deadline from February 20, 2025, until seven days

from the date of Defendants’ response. Plaintiffs and Defendant Lyell would show good cause for

such an extension as follows:

       1.      The Court granted the Plaintiffs’ emergency motion and quashed the deposition

that was set for February 4, 2025. (Order, at 2, ECF No. 204.)

       2.      Under the Amended Case Management Order, discovery disputes are to be brought

before the Court by request for a discovery conference after the parties have conferred in-person

to resolve the discovery dispute. (Stipulated Am. Case Mgmt. Order at ¶ G, ECF No. 170.)

       3.      Counsel for Plaintiffs and Defendant Lyell have conferred in person and agree that

the parties would benefit from a discovery conference concerning Plaintiffs’ Motion for a

Protective Order (ECF No. 200), specifically regarding whether the briefing on the motion may be

filed under seal.

       4.      Plaintiffs and Defendant Lyell also anticipate filing a joint motion to seal the

briefing on Plaintiffs’ motion for protective order and intend to make a showing of good cause at

the discovery conference.

       5.      The remaining defendants have advised that they do not oppose this motion.

       For these reasons, Plaintiffs and Defendant Lyell request that the Court convene a

discovery conference and further request that the Court extend Defendants’ response deadline from

February 13, 2025, until seven days after the Discovery Conference, or, if the request for a

discovery conference is denied, seven days after entry of the Court’s order ruling on this motion,




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and extend the Plaintiffs’ optional reply deadline from February 20, 2025, until seven days from

the date of Defendants’ response.




                                            Respectfully submitted,



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                               CERTIFICATE OF SERVICE
       I hereby certify that on this the 12th day of February, 2025, the foregoing was served via
the court's electronic filing system on the following counsel of record:


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